  Case 1:22-cv-00518-JLR-RWL          Document 116-4          Filed 11/16/23       Page 1 of 1
                  Exhibit 4 - Class representatives' overtime damages



 Bates                   Week end                     Minimum                  Unpaid OT
numbers    Plaintiff        date       Total hours      wage       OT premium premium*
 D1212       Huk        10/18/2020        43.25        $15.00         $7.50      $24.38
 D1212       Huk         11/8/2020        46.10        $15.00         $7.50      $45.75
 D1212       Huk        12/13/2020        43.38        $15.00         $7.50      $25.38
 D1213       Huk         2/28/2021        42.77        $15.00         $7.50      $20.75
 D1213       Huk         3/7/2021         44.70        $15.00         $7.50      $35.25
 D1213       Huk         3/14/2021        47.95        $15.00         $7.50      $59.63
 D1214       Huk         5/9/2021         40.85        $15.00         $7.50       $6.38
 D1214       Huk         6/20/2021        44.05        $15.00         $7.50      $30.38
                                                                    Huk total:  $247.88
 D1217    Martinenko     4/3/2016         40.58        $9.00          $4.50       $2.61
 D1219    Martinenko     8/14/2016        47.07        $9.00          $4.50      $31.82
 D1221    Martinenko    12/25/2016        45.30        $9.00          $4.50      $23.85
 D1222    Martinenko     3/12/2017        40.20        $11.00         $5.50       $1.10
 D1227    Martinenko    12/24/2017        40.05        $11.00         $5.50       $0.27
 D1227    Martinenko    12/31/2017        47.15        $11.00         $5.50      $39.33
 D1229    Martinenko     3/25/2018        41.08        $13.00         $6.50       $7.02
 D1229    Martinenko     4/29/2018        41.87        $13.00         $6.50      $12.16
 D1229    Martinenko     5/20/2018        44.17        $13.00         $6.50      $27.11
 D1230    Martinenko     6/17/2018        45.10        $13.00         $6.50      $33.15
 D1230    Martinenko     8/19/2018        42.90        $13.00         $6.50      $18.85
 D1231    Martinenko     8/26/2018        40.17        $13.00         $6.50       $1.11
 D1231    Martinenko     9/30/2018        42.05        $13.00         $6.50      $13.33
 D1231    Martinenko     10/7/2018        44.55        $13.00         $6.50      $29.58
 D1231    Martinenko    11/11/2018        42.92        $13.00         $6.50      $18.98
 D1232    Martinenko    11/18/2018        43.77        $13.00         $6.50      $24.51
 D1232    Martinenko    12/16/2018        45.62        $13.00         $6.50      $36.53
 D1233    Martinenko      4/4/2021        42.93        $15.00         $7.50      $21.98
 D1234    Martinenko     10/3/2021        45.48        $15.00         $7.50      $41.10
 D1234    Martinenko    10/10/2021        44.80        $15.00         $7.50      $36.00
 D1235    Martinenko    10/24/2021        43.50        $15.00         $7.50      $26.25
 D1235    Martinenko    10/31/2021        44.57        $15.00         $7.50      $34.28
 D1235    Martinenko     11/7/2021        41.42        $15.00         $7.50      $10.65
 D1235    Martinenko    11/14/2021        58.33        $15.00         $7.50     $137.48
 D1235    Martinenko    11/21/2021        52.00        $15.00         $7.50      $90.00
 D1235    Martinenko    11/28/2021        48.58        $15.00         $7.50      $64.35
 D1235    Martinenko     12/4/2021        46.10        $15.00         $7.50      $45.75
                                                                   Martinenko
                                                                      total:    $829.10

                                      * Tip credit already accounted for in tip credit damages
                                      section
